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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          NORTHERN DIVISION

TERRY FOSTER                                                                PLAINTIFF

v.                         CASE NO. 3:20-CV-00135-BSM

RICK SHIPMAN
CONSTRUCTION, INC.                                                        DEFENDANT

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed with prejudice.

     IT IS SO ORDERED this 4th day of October, 2021.




                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
